Case: 1:12-cr-00062-DAP Doc #:1 Filed: 01/30/12 1 o0f1. PagelD #: 1

AO $1 (Rev. 5/85) Criminal Complaint

United States District Court’ -

NORTHERN DISTRICT OF OHIO, EASTERN DIVISIGHN? JAX 30 Pit 3: 06 |

UNITED STATES OF AMERICA ciei eh i piayeict cr oh -
v. CRIMINAL COMPLAINT
Chardee D. Barfield Mag JJ uage White

CASE NUMBER:

1:12 "2 3032

Cleveland, Ohio 44108

{Name and Address of Defendant)

|, the undersigned complainant being duly sworn state the following is true and correct to the best of my '

knowledge and belief. On or about December 16, 2011 — December 31, 2011 in Cuyahoga county, in the
Northen District of Qhio defendant(s) did, (track stautory Language of Offenso)

knowingly transport an individual who has not attained the age of 18 years in interstate or foreign commerce, with intent that the
individual engage in prostitution, in violation of Title 18, United States Code, Section(s) 2423(a).

| further state that! am a(n) _ Special Agent of the FBI and that this complaint is based on the following facts:

Official Title

See Attached Affidavit hereby incorporated by reference as if fully restated herein.

Continued on the attached sheet and made a part hereof: Yes CJ No

(F Lh Me in my presence,

Signaturé of Complainant

Charles Sullivan
Special Agent
FBI, Cleveland Division

January 30, 2012 at Cleveland, Ohio
Date ity-ertd-State

lagistrate J
Name & Title uy siadicial Officer

